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 1 JAMES R. GREINER, ESQ.
   CALIFORNIA STATE BAR NUMBER 123357
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 5   ATTORNEY FOR DEFENDANT
     LENIN GALEANO
 6
 7
 8                IN THE UNITED STATES DISTRICT COURT FOR THE
 9                       EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,      )                CR.-S-08-318-LKK
11                                  )
          PLAINTIFF,                )                STIPULATION AND AGREEMENT
12                                  )                BY THE PARTIES WITH AGREEMENT
          v.                        )                OF PRE-TRIAL SERVICES TO
13                                  )                MODIFY RELEASE CONDITIONS OF
     LENIN GALEANO,                 )                LENIN GALEANO
14                                  )
          DEFENDANT.                )
15   _______________________________)
16
           The parties to this litigation, the United States of America, by and through their
17
     attorney, Mr. Russell L. Carlberg, and defendant, Lenin Galeano, by and through his
18
     attorney, Mr. James R. Greiner, and with the agreement and stipulation of the United
19
     States Pretrial Services Officer, Ms. Tai Gaskins, request that this Court modify the
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     pre-trial release conditions of the defendant by striking the condition that requires the
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     defendant to drug test.
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28                                               1
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 1         It is so stipulated and agreed to.
 2                                    BENJAMIN WAGNER
                                      UNITED STATES ATTORNEY
 3
                                      /s/ Russell L. Carlberg by e mail authorization
 4
     DATED: 4-12-11                   _____________________________________
 5                                    Russell L. Carlberg
                                      ASSISTANT UNITED STATES ATTORNEY
 6                                    ATTORNEY FOR THE PLAINTIFF
 7   DATED: 4-12-11                   /s/ James R. Greiner
                                      ___________________________________
 8                                    James R. Greiner
                                      Attorney for Defendant Christopher Warren
 9
10                                              ORDER
11         GOOD CAUSE APPEARING, and based upon the above stipulation and
12   agreement, IT IS HEREBY ORDERED:
13         The defendant shall not drug test while on pre-trial release and all other pre-trial
14   release conditions remain in full force and effect.
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16         IT IS SO ORDERED.
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18   DATED: APRIL 14, 2011
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